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EXHIBIT A

Case Administration (42.00 Hours; $ 13,297.50)

Professionals Number of Hours Billing Rate Value

Elihu Inselbuch .10 $920 92.00

Peter Van N. Lockwood 3.00 $840 2,520.00

Rita C. Tobin 4.80 $530 2,544.00

Jeffrey A. Liesemer .40 $495 198.00

Andrew J. Sackett 2.70 $295 796.50

Michael C. Green 3.00 $235 705.00

Erroll G. Butts 24.00 $235 5,640.00

Eugenia Benetos 2.20 $205 451.00

Alan J. Payne 1.80 $195 351.00

Trans Empl Bill Billing

Date Init Rate Hours Full Narrative

10/2/2009 = PVL 840.00 0.10 Review Sinclair memos.

10/5/2009 = PVL 840.00 0.10 Review 5 miscellaneous filings.

10/5/2009 RCT 530.00 0.20 Review local counsel records and dockets re EI
update (0.2)

10/7/2009 = PVL 840.00 0.10 Review 8 miscellaneous filings.

10/7/2009. MCG 235.00 3.00 Per NDF, assemble case materials for use at
continuation of confirmation hearing.

10/9/2009 =PVL 840.00 0.10 Review draft Hurford memo and reply.

10/13/2009 RCT 530.00 0.20 Review local counsel records and dockets re EI
update (0.2)

10/13/2009 EGB 235.00 9.00 Prepare and get documents for Counsel as needed
during the trial

10/14/2009 EGB 235.00 10.00 Prepare and get documents for Counsel as needed
during the trial. Clean up trial room; assisted
Kirkland and Ellis with Boxes and clean up.

10/14/2009 RCT 530.00 1.20 Review exhibits (1.2)

10/15/2009 =PVL 840.00 0.20 Review 13 misc filings.
10/15/2009

10/19/2009

10/19/2009

10/20/2009

10/23/2009

10/25/2009

10/26/2009

10/26/2009

11/3/2009

11/4/2009

11/11/2009

11/12/2009

11/13/2009

11/16/2009

11/16/2009

11/23/2009

11/24/2009

11/28/2009

11/30/2009

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JAL

PVL

RCT

PVL

PVL

EGB

RCT

EB

PVL

RCT

PVL

RCT

PVL

EB

PVL

PVL

PVL

PVL

PVL

495.00

840.00

530.00

840.00

840.00

235.00

530.00

205.00

840.00

530.00

840.00

530.00

840.00

205.00

840.00

840.00

840.00

840.00

840.00

0.40

0.10

0.20

0.10

0.10

5.00

0.20

1.00

0.10

0.50

0.10

0.20

0.20

0.20

0.10

0.70

0.20

0.10

0.10

Review and analysis of materials relating to
confirmation issues.

Review 19 misc filings.

Review local counsel records and dockets re EI
update (0.2)

Review 5 misc. filings.
Review 6 miscellaneous filings.

Cite check Grace Brief and review edits made by
M. Fanone for N. Finch

Review local counsel records and dockets re EI
update (0.2)

Review, classify, and annotate relevant material for
EI re conference calls, draft memo.

Review 9 misc filings.
Review Initial Report/mark-up for analysis (0.5)
Review agenda and email Hurford.

Review local counsel records and dockets re EI
update (0.2)

Review 17 misc. filings.

Perform review of fee exhibit schedule to ensure
that we are up to date with payments requested.

Review 6 misc. filings.

Attend telephonic omni hearing (.6); review 6 misc.
filings (.1).

Review 19 misc filings.
Review 3 misc filings.

Review 7 misc. filings.
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3
12/3/2009 = AJS 295.00 0.10 Prep of email to ACM regarding settlement.
12/3/2009 = AJS 295.00 2.60 Review of Plan.
12/7/2009 =PVL 840.00 0.10 Review agenda and email Hurford.
12/8/2009 = PVL 840.00 0.10 Review 7 misc. filings.
12/8/2009 RCT 530.00 0.20 Rev. local counsel and dockets re EI update (0.2)
12/10/2009 EB 205.00 0.50 Emails with Katie Hemming re: payment requests.
12/15/2009 PVL 840.00 0.10 Review 8 misc filings.
12/15/2009 RCT 530.00 0.20 Rev. local counsel and dockets re EI update (0.2)
12/17/2009 RCT 530.00 1.50 Review Exhibits (1.5)
12/18/2009 EB 205.00 0.50 Emails with Katie Hemming re: payment schedule.

Email EI re: payment schedule.

12/22/2009 RCT 530.00 0.20 Review local counsel and dockets re EI update (0.2)
12/22/2009 PVL 840.00 0.10 Review five miscellaneous filings.
12/29/2009 PVL 840.00 0.10 Review nine miscellaneous filings.
12/30/2009 AJP 195.00 1.80 Rename Westlaw files.
12/31/2009 EI 920.00 0.10 Read Sinclair materials.

Total Task Code .04 42.00

Claim Analysis Objection & Resolution (Asbestos) (.50 Hours; $ 420.00)

Professionals . Number of Hours Billing Rate Value
Peter Van N. Lockwood 50 $840 420.00
Trans Empl Bill Billing

Date Init Rate Hours Full Narrative

10/2/2009 =PVL 840.00 0.40 Review Judge Buckwalter op. re CA PD claims.
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11/11/2009 PVL

Total Task Code .05

Employee Benefits/Pension (.10 Hours; $ 92.00)

840.00

50

0.10

Review motion re Solow settlement.

Professionals Number of Hours Billing Rate Value
Elihu Inselbuch 10 $920 92.00
Trans Empl Bill Billing

Date Init Rate Hours Full Narrative

10/14/2009 El 920.00 0.10 Memo Sinclair re: pension plan (.1).
Total Task Code .08 10

Fee Applications, Applicant (34.70 Hours; $ 15,459.50)

Professionals Number of Hours Billing Rate Value

Elibu Iselbuch .40 $920 368.00

Rita C. Tobin 24.80 $530 13,144.00

Eugenia Benetos 7.00 $205 1,435.00

Shirley D. Chisolm 2.50 $205 512.50

Trans Empl Bill Billing

Date Init Rate Hours Full Narrative

10/1/2009 RCT 530.00 1.00 Address fee issues (1.0)

10/5/2009 EB 205.00 0.50 Perform review of CNO. Email local counsel re:
pending payments.

10/8/2009 RCT 530.00 1.00 Review prebills (1.0)

10/20/2009 RCT 530.00 1.00 Review fee applications (1.0)

10/20/2009 RCT 530.00 1.00 Address fee issues (1.0)
10/21/2009

10/22/2009

10/22/2009

10/23/2009

10/26/2009

10/30/2009

11/9/2009

11/10/2009

11/11/2009

11/12/2009

11/12/2009

11/17/2009

11/18/2009

11/19/2009

11/20/2009

11/20/2009

11/23/2009

11/23/2009

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RCT

EI

EB

EI

EB

RCT

RCT

EB

RCT

RCT

EB

RCT

RCT

RCT

EB

SDC

EB

RCT

530.00

920.00

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530.00

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530.00

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205.00

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205.00

530.00

0.50

0.20

1.00

0.20

1.00

0.20

3.00

1.00

1.50

1.00

1.00

1.00

1.50

0.40

1.00

1.00

0.50

1.50

Address fee matters (0.5)

Review of fee application and t/cs NDF and JR re:
same.

Work on monthly fee application.
Billing issues.

T/C with APB; conference with EI re paralegal
entries.

Review fee application schedules for October (0.2)

' Address fee auditors issues (1.5); review prebills

(1.5)

Work on interim fee application. Added language
re: paralegal time billed cut-down for EI's review.

Address fee issues (.5); address fee auditor issues
(1.0)

Review fee records re confirmation hearing
fees/expenses (1.0)

Review Grace fee application for interim filing and
distribute to local counsel for filing.

Address fee/fee auditor issues (1.0)
Review prebills (1.5)

Address fee issues (0.4)

Work on monthly fee application.
Work on Monthly fee application

Prepare fee and expense report for fee application
exhibit.

Review fee applications (1.5)
11/24/2009

12/2/2009

12/4/2009

12/8/2009

12/10/2009

12/11/2009

12/16/2009

12/18/2009

12/21/2009

12/21/2009

12/21/2009

Total Task Code .12

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RCT

EB

RCT

RCT

RCT

RCT

RCT

RCT

RCT

SDC

SDC

530.00

205.00

530.00

530.00

530.00

530.00

530.00

530.00

530.00

205.00

205.00

34.70

4.30

1.00

1.00

0.20

1.00

0.50

1.20

1.00

1.00

1.00

0.50

Collect information for fee auditor (1.5); draft fee
auditor response (2.5); emails PVNL re fee auditor
response (0.3)

Work on monthly fee application.

Address fee matters (1.0)

Address fee issues (0.2)

Address fee and payment issues (1.0)

Rev. fee app. schedules for 2010 (0.5)

Review prebills (1.2)

Address fee issues (1.0)

Rev. fee apps, payment records 2009 (1.0)

Work on Monthly Fee Application

Prepared fee and expense report for fee application
exhibit

Litigation and Litigation Consulting (1,264.60 Hours; $ 596,874.50)

Professionals

Elihu Inselbuch

Peter Van N. Lockwood

Bernard Bailor
Nathan D. Finch
Leslie M. Kelleher

Jeffrey A. Liesemer

Kevin C. Maclay
James P. Wehner

Jeanna Rickards Koski

Andrew J. Sacket
Erroll G. Butts

Number of Hours

23.70
59.10
81.20
154.40
1.50
61.50
210.60
325.40
83.00
50.60
9.00

Billing Rate Value
$920 21,804.00
$840 49,644.00
$630 51,156.00
$610 94,184.00
$550 825.00
$495 30,442.50
$495 104,247.00
$495 161,073.00
$320 26,560.00
$295 14,927.00

$235 2,115.00
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7

Samira A. Taylor 7.90 $195 1,540.50

Marissa A. Fanone 155.70 $195 30,361.50

Sarah Joy DelSavio 41.00 $195 7,995.00

Trans Empl Bill Billing

Date Init Rate Hours Full Narrative

10/1/2009  KCM 495.00 3.90 Review/analyze correspondence (.4);
review/analyze trial transcript and related materials
(2.2); organize files (.6); review/analyze evidentiary
outline and related materials (.7)

10/1/2009 = JAL 495.00 0.20 Review and analysis of materials in prep. for post-
trial briefing on confirmation issues.

10/1/2009 BSB 630.00 1.20 Read pleadings.

10/1/2009 MAF 195.00 4.50 Compile and organize Admitted Garlock Trial
Exhibits (2); cross reference Master Admitted
Exhibits List with exhibits shown to witnesses by
the Plan Proponents (1.5); retrieve various Plan
Proponents Trial Exhibits for attorney review (1).

10/1/2009 JMR 320.00 7.90 Prepare brief regarding expert report; work with
expert to obtain declaration (5.6); continue to draft
post-trial brief (2.3)

10/1/2009 NDF 610.00 2.10 Review transcript for post trial briefing purposes.

10/2/2009 NDF 610.00 4.30 Work on post trial briefing and brief re Peterson
testimony.

10/2/2009 JMR 320.00 2.60 Continue to prepare post-trial brief

10/2/2009 JPW 495.00 7.60 Review Garlock exhibits (1.0); research and draft
post-trial briefs (5.6); e-mails re exhibit issues (1.0)

10/2/2009 BSB 630.00 6.90 Conference with NDF (.2); read pleadings (6.7).

10/2/2009 JAL 495.00 0.30 E-mail exchanges w/PVNL and NDF re:
confirmation hearing and post-trial briefing.

10/2/2009 KCM 495.00 2.80 Review/analyze correspondence, trial transcript and

evidentiary outline

10/4/2009 NDF 610.00 2.00 Work on post trial and Daubert argument materials.
10/5/2009

10/5/2009

10/5/2009

10/5/2009

10/6/2009

10/6/2009

10/6/2009

10/6/2009

10/7/2009

10/7/2009

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NDF

JPW

EI

KCM

KCM

JAL

NDF

JPW

JPW

MAF

610.00

495.00

920.00

495.00

495.00

495.00

610.00

495.00

495.00

195.00

2.30

8.00

1.60

4.30

3.40

1.80

2.50

8.20

6.10

3.00

Work on post trial brief and prepare for resumption
of hearing (2.0); teleconference with E. Liebenstein
re Zilly (0.3).

Conference calls with Plan Proponents re exhibits
(1.2); telephonic meet and confer with objectors re
exhibits and deposition designations (1.5); draft
post-trial brief (4.9); e-mails re exhibits,
confirmation issues (.4)

Memo re: pension plan (.1); t/c Frankel re: status
(.1); t/e PVNL re: Libby (.2); review of Cohn
material and memo to Cohn (1.0); t/e PVNL re:
property damage order (.2).

Plan/prepare for and attend conference call with
Plan Proponent re exhibit stipulations and
designation issues (1.3); meet with JPW and
plan/prepare for and attend telephone call with R.
Horkavich re document issues (.2); plan/prepare for
and attend telephone conference with Plan
Proponents and Plan objectors re exhibits and
deposition designations (1.2); review/analyze
various proposed stipulations and exhibit lists (.8);
organize files (.5); review/analyze correspondence

(.3)

Review/analyze transcript (.8); review/analyze
correspondence and draft stipulations and exhibits
and communicate with NDF and PVNL re same
(2.6)

Review and analysis of materials in prep. for post-
trial briefing.

Work on post trial matters.

E-mails re confirmation issues (.4); research and
draft post-trial brief (7.2); meet with KCM re post-
trial brief (.6)

Research draft proposed findings of law (5.9); e-
mails re confirmation evidence (.2)

Prepare trial materials for Confirmation Hearing.
10/7/2009

10/7/2009

10/7/2009

10/7/2009

10/7/2009

10/8/2009

10/8/2009

10/8/2009

10/8/2009

10/8/2009

10/8/2009

10/9/2009

10/9/2009

10/9/2009

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NDF

EI

JAL

JAL

KCM

JAL

JAL

NDF

JMR

MAF

JPW

JPW

JMR

NDF

610.00

920.00

495.00

495.00

495.00

495.00

495.00

610.00

320.00

195.00

495.00

495.00

320.00

610.00

5.50

0.80

4.30

2.00

0.90

0.10

4.30

7.70

8.40

8.00

8.50

5.90

6.30

5.70

Review transcript and work on outline of key
medical testimony for post trial and Daubert
briefing.

T/c Cohn/Heberling re: Libby status (.5); memo to
Frankel re: Libby status (.1); motions re: ART and
pension (.2).

Drafting and revisions to post-trial brief on
confirmation issues.

Review and analysis of draft stipulations re:
confirmation hearing evidence and e-mail exchanges
w/PVNL re: same.

Review/analyze stipulations and exhibits,
correspondence and communicate with PVNL re
same

Drafted e-mail to NDF re: post-trial briefing issue.

Drafting and revisions to post-trial brief on
confirmation issues.

Teleconference with Peterson re computations (1.0);
edit declaration re same (0.7); prepare for
resumption of confirmation hearing and daubert
arguments (4.0); prepare post trial briefing (1.8);
confer with JPW and JMR re same (0.2).

Continue to prepare post-trial brief

Prepare trial materials for Confirmation Hearing.
Meet with JMR and NDF re post-trial brief (.5);
read memo on Moolgard testimony (.6); e-mails re
confirmation issues (.3); research and draft post-

trial brief (7.1)

Research and draft post-trial brief (5.3); review
JMR section (.6)

Continue to prepare post-trial brief

Prepare for daubert argument (2.5); edit Peterson
declaration (0.6); teleconference with Peterson and
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10

Relles re computations and declaration (0.5);
teleconference with E. Liebenstein re brief (0.5);
edit brief re Peterson (0.7); email re exhibits for
same (0.4); review 9/11 transcript for corrections
(0.5).

10/9/2009 = JAL 495.00 0.50 Further drafting and revisions on post-trial brief.

10/9/2009 = JAL 495.00 0.20 Reviewed proposed order governing post-trial
schedule.

10/9/2009 KCM 495.00 2.40 Review/analyze transcript (2.2); review/analyze
correspondence (.2)

10/10/2009 JPW 495.00 2.80 Research and draft post-trial brief

10/11/2009 NDF 610.00 2.20 Prepare for confirmation hearing - exhibits and
daubert argument (2.0); teleconference with Morgan
re exhibits needed (0.2).

10/11/2009 KCM 495.00 5.10 Review/analyze trial transcript (4.2); plan/prepare
for post-trial brief (.9)

10/12/2009 KCM 495.00 1.90 Review/analyze trial transcript (1.8);
review/analyze correspondence (.1)

10/12/2009 JAL 495.00 0.10 Reviewed e-mail exchanges re: confirmation
hearing.

10/12/2009 JAL 495.00 0.10 Reviewed draft proffer to R. Finke.
10/12/2009 JMR 320.00 4.30 Continue to prepare post-trial brief

10/12/2009 JPW 495.00 7.60 Research and draft post-trial brief (7.3); e-mails
with JMR re post-trial brief (.3)

10/12/2009 NDF 610.00 5.50 Read trial transcripts and prepare for daubert
argument re Libby (4.7); review and edit draft
motion re Peterson/Zilly testimony (0.5); confer
with PVNL re case issue (0.3).

10/13/2009 NDF 610.00 12.00 Attend confirmation hearing (10.5); prepare for
daubert argument (1.0); review Garlock exhibits
(0.5).

10/13/2009 BSB 630.00 6.90 Medical articles review and file.
10/13/2009

10/13/2009

10/13/2009

10/13/2009

10/14/2009

10/14/2009

10/14/2009

10/14/2009

10/14/2009

10/14/2009

10/14/2009

10/15/2009

10/15/2009

10/15/2009

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MAF

JPW

JMR

KCM

JAL

JAL

JMR

JPW

MAF

BSB

NDF

BSB

NDF

JPW

195.00

495.00

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320.00

495.00

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630.00

610.00

630.00

610.00

495.00

11.00

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3.70

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0.10

5.50

8.50

6.00

4.70

4.50

5.90

2.90

9.70

11

Attend Confirmation Hearing.

E-mails re confirmation (.2); meet with JMR re
post-trial brief (x2) (.5); meet with JMR re post-
trial brief (x2) (.4); review and edit post-trial brief
(6.1); meet with KCM re insurance testimony (.5);
review trial transcript (1.1)

Post-trial briefing

Draft/revise post-trial brief and review/analyze
related materials (6.8); review/analyze Horkavich
memo and related materials and correspondence (.4)

Reviewed draft of post-trial order.
Brief review of confirmation hearing transcript.
Post-trial briefing

Meet with JMR re post-trial brief (.2); revise and
edit post-trial brief (6.8); telephone conference with
NDF re post-trial brief (.3); e-mails re post-trial
brief (1.2)

Attend Confirmation Hearing (6).
Medical articles.

Attend confirmation hearing (4.0); prepare for
argument (0.5).

Analysis of medical testimony (5.9).

Prepare for call re order (0.3); teleconference with
co-plan proponents re post trial briefing (0.5);
confer with JPW and JAL re same (0.5); draft
citation conventions (0.2); read memo re legal issue
(0.5); review transcript of daubert arguments for
use in post trial briefing (0.9).

E-mails re post-trial briefing (.7); revise and edit
post-trial brief (6.7); telephone conference with
Plan Proponents re post-trial brief (1.2); meet with
NDF and JAL re post-trial brief (.3); meet with
10/15/2009

10/15/2009

10/15/2009

10/15/2009

10/16/2009

10/16/2009

10/16/2009

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10/16/2009

10/17/2009

10/18/2009

10/19/2009

10/19/2009

10/19/2009

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JAL

JAL

JAL

JAL

JPW

JMR

KCM

BSB

NDF

KCM

KCM

KCM

NDF

BSB

495.00

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630.00

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6.30

1.80

1.70

5.20

2.80

2.10

4.90

2.10

4.60

4.80

12

KCM re insurance issues (.3); review balloting
declarations (.5)

Review and analysis of materials in prep of post
trail confirmation briefing.

Prep. for conf. call on post-trial briefing.

Conf. call w/PVNL, NDF and Plan Proponents re:
post-trial briefing.

Office conf. w/NDF and JPW re: post-trial briefing.

Revise and edit post-trial briefs (5.6); e-mails re
post-trial brief (.3); review draft order (.2); e-mails
re demonstratives (.2)

Review transcripts in preparation for meeting re
insurance brief, attend meeting

Plan/prepare for and meet with JMR and with JMR,
PVNL and NDF re post-trial briefs and
review/analyze related materials (1.5);
review/analyze correspondence (.2)

Work on medical issues.

Post trial briefing and other plan confirmation
issues.

Draft/revise post-trial brief and review/analyze
related cases and materials

Draft/revise post-trial brief and review/analyze
related cases and materials

Review/analyze materials re briefs and
correspondence and draft/revise brief section

Review and edit outline of brief sent by K&E (1.0);
review trial record for post trial briefing edits and

commentary on same (3.6).

Work on medical issues.
10/19/2009

10/19/2009

10/19/2009

10/20/2009

10/20/2009

10/20/2009

10/20/2009

10/20/2009

10/20/2009

10/20/2009

10/21/2009

10/21/2009

10/22/2009

10/22/2009

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JAL

JAL

JPW

JPW

JAL

JAL

MAF

BSB

KCM

NDF

KCM

JPW

JPW

MAF

495.00

495.00

495.00

495.00

495.00

495.00

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630.00

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610.00

495.00

495.00

495.00

195.00

3.90

0.10

8.10

6.90

0.50

0.80

4.00

4.90

3.00

3.50

4.70

8.30

6.80

3.00

13

Further drafting and revisions to post-trial
confirmation brief.

Reviewed PVNL's comments on post-trial brief
outline.

E-mails re post-trial brief (.3); review Libby outline
(.4); telephone conference with KCM re post-trial
brief (.2); revise and edit Libby post-trial brief (7.2)

Revise and edit Libby post-trial brief (6.3); e-mails
re post-trial brief (.6)

Further revisions and editing to post-trial
confirmation brief.

Review and analysis of revised outline of post-trial
brief.

Compile and organize final Confirmation Hearing
transcripts (1.5); organize Plan Proponents trial
exhibits on the J drive (2.5).

Read new materials for medical file.

Draft/revise post-trial brief and review/analyze
related materials (2.9); review/analyze
correspondence (.1)

Work on post trial briefing.

Draft/revise brief section and review/analyze related
cases and materials (4.3); review/analyze
correspondence and section of brief (.4)

Revise Libby post-trial brief (6.8); meet with NDF
re post-trial brief (.4); e-mails re damages research

(1.1)

Telephone conference with PVNL and NDF re post-
trial brief (.4); telephone conference with NDF re
post-trial brief (.2); revise and edit post-trial brief
(5.9); meet with MAF re cite check (.3)

Cite check Post Trial Memo re Libby issues.
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Review/analyze correspondence re briefs (.3);
draft/revise brief and review/analyze related cases
and materials (3.1)

Cite check and edit Phase II Post-trial brief re:
Libby issues.

Work on medical database.

Review, revise and edit draft Libby brief and
exchange emails re same (1.0); review record
materials for post trial briefing (1.5).
Continue work on medical database.

Work on post trial briefing.

Draft/revise brief and review/analyze related briefs,
cases and transcripts and other materials

Meet and confer re exhibits (.6); review admitted
exhibit lists (1.9); e-mails re telephone conference;
exhibits (.5); review 524(g) arguments (1.2)

Draft/revise brief and review/analyze cases and
materials

Research article for NDF (.5); work on medical
database (5.1).

Work on post trial briefing matters.

Plan/prepare for and meet with JAL and telephone
conference with Debtor re briefs (.1); draft/revise
brief and review/analyze related materials (3.9)
Review draft confirmation argument, post-trial brief
segments (1.6); e-mails re post-trial briefs (.2);
meet with KCM re post-trial briefs (.3)

Draft section of insurance brief

Review and analysis of materials relating to post-
trial briefing.

Review and analysis of outlines for post-trial briefs.
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Conf. call w/Plan Proponents’ counsel re: post-trial
briefing.

Office conf. w/NDF re: post-trial briefing.

Tele. call w/KCM and T. Freedman re: post-trial
briefing.

Tele. call w/EGB re: post-trial briefing.

Review and analysis of draft sections of post-trial
briefs.

Review Grace post-trial brief inserts (2.2); e-mails
re same (.5)

Review/analyze brief sections, related materials and
correspondence (.9); draft/revise brief,
review/analyze related cases and materials and
communicate with JMR and NDF re same (4.9)

Exchange emails re edits and reviews of various
post trial briefs (3.5); research case law re 7
amendment argument (2.1).

Medical issues research (3.9).
Pleadings.

Revise and edit post trial briefs with legal and
factual research re same (2.3); exchange emails with
PVNL re various (0.4).

Draft/revise briefs and communicate with PVNL
and Debtor re same (6.7); review/analyze
correspondence re briefing and related draft sections
(1.0)

Review edits to Libby brief (.7); e-mails re Libby
brief (.4); edit Libby brief (4.9); research
confirmation issue (2.3); telephone conference with
H,. Bloom re brief (.2); review insurance brief;
meet with KCM re insurance brief (.5)
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Draft section of main brief regarding the TDP (4.6);
revise sections of the insurance brief (3.2)

Compile and organize admitted trial exhibits for all
parties.

Review and analysis of materials in connection with
post-trial confirmation briefing.

Reviewed e-mails from PVNL and NDF re: post-
trial briefs.

Reviewed e-mail from NDF re: scheduling on post-
trial briefs.

Telephone call w/J. Guy re: post-trial briefing.

Drafted and revised memo to EI, PVNL and NDF
re: post-trial briefing.

Drafted and revised memo to Plan Proponents’
counsel re: confirmation issues.

Reviewed e-mail exchanges between PVNL and
NDF re: post-trial briefing.

Reviewed and provide comments on draft sections
of post-trial briefs.

Drafted and revised e-mails to KCM (x2) re:
comments on post-trial brief.

Compile and organize admitted trial exhibits for all
parties (1); cite check Post Trial Brief re Libby
Claimants (5).

E-mails re post-trial briefs (2.1); review draft post-
trial brief sections (2.0); edit post-trial briefs (1.9);
telephone conference with EGB re paralegal

assistance (.2); meet with KCM re TAC issues (.3)

Revise sections of brief
Draft/revise brief, communicate with Debtor re

same and review/analyze related cases, materials
and correspondence
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Work on post trial briefing issues.

Review and respond to Harding emails re legal
issues (1.1); post trial briefs (1.6).

Read pleadings.

Draft/revise brief and review/analyze brief, cases
and materials, and correspondence

Cite check revised Insurance Brief.
Revise sections of brief

E-mails re post-trial briefs (2.3); revise post-trial
brief re Libby (2.7); review brief segments (1.8);
draft inserts for main trial briefs (2.1); meet with
KCM re post-trial briefing (.5)

Cite check Post Trial Brief re Libby Claimants (1);
compile and organize admitted trial exhibits for all
parties (1).

Review and analysis of e-mail correspondence
relating to post-trial briefing.

Review of drafts of post-trial confirmation briefs.

Review main confirmation brief (1.9); e-mails re
same (.2)

Revise and finalize Libby brief (7.3); draft insert
for main brief (.8); telephone conference with Plan
Proponents re briefs (.7)

Conf. call w/Plan Proponents’ counsel on post-trial
briefs.

Reviewed edits made to main post-trial brief.

Second conf. call w/Plan Proponents re: post-trial
briefs.

Review email and reply (.6); review revised draft
conf briefs (1.3); teleconference Bernick,
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Freedman, Harding, Boll, Guy, NDF, JAL, KCM
et al (1.4).

Plan/prepare for and attend telephone conference re
briefs with Plan Proponent (.8); plan/prepare for
and attend second telephone conference re briefs
with Plan Proponents (.6); draft/revise brief
sections and review/analyze related materials (5.3)

Reviewed and provided comments on draft post-trial
briefs.

Cite Check brief for N. Finch, review edits as
needed.

Review, revise and finalize post-trial brief
Review, revise and finalize post-trial brief
Review/analyze and draft/revise post-trial brief and
review/analyze related materials and
correspondence (4.9); review/analyze filed briefs

(2.5)

Review email and reply (.7); review revised draft
Libby brief (.2).

Work on medical database (1.3), read briefs (3.5).

Drafted and revised e-mail to PVNL and NDF re:
post-trial briefing.

Drafted and revised insert for post-trial brief.

Tele. call w/E. Leibenstein re: insert to post-trial
brief.

Review of and final edits to post trial briefs.
Memo Horkovich re: status (.1); memo Baron re:
Texas law question (.1); memo Frankel re: CNA

discussion status (.1).

Cite check and edit Phase II Post Trial Brief re
Libby Issues.
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Revise, edit and finalize Libby post-trial brief
(10.4); e-mails re brief (1.9); meet with NDF re
edits (.5); telephone conference with M. Hurford re
filing (x3) (.2)

E-mails re post-trial briefing (.7); meet with KCM
and NDF re post-trial briefs (.9); review and read
post-trial briefs (5.2)

Read post trial briefs filed by plan objectors (3.5);
outline response to Libby (0.5).

Brief review of post-trial briefs.

Drafted e-mail to NDF re: post-trial briefs.
Review and analysis of post-trial briefs.
Read briefs (4.7).

Review/analyze post-trial brief and plan/prepare
response

Review objectors' post-trial briefs (1.4); review
email and reply (.2); review Grace PT brief re Bank
Lender issues (.8); review Libby cls PT brief (.9);
review PDFCR PT brief (.2); review Arrowood PT
brief (.3).

Review MCC PT brief (.4); review Seaton PT brief
(.6); teleconference Wyron (1.4); review email and
reply (.4); review revised draft Edwards agmt and
exhibits (.3); confer ACM (.2); review Kritzer
memo (.2); review Hartford PT brief and Federal,
Axa and Zurich joinders (.3); review Geico PT
brief (.1); review Longacre PT brief (.3); review
Montana PT brief (.2); review BNSF PT brief (.3).

Review/analyze briefs, correspondence and related
memo

Read briefs.

Compile PDFs to be used as hyperlinks in the Phase
II Post Trial Brief re Libby Issues.
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Texas law issue with PVNL.
Review Libby post-trial brief

Meeting with PVNL, NDF, KCM, JPW, regarding
responses to post-trial briefs

Compile and organize Post-Trial briefs.

Review post-trial briefs (2.3); telephone conference
with PVNL, NDF, KCM, LMK, and JMR re post-
trial briefs (1.8); e-mails re hyper linking (.3)

Plan/prepare for and attend meeting with PVNL,
NDF, JMR and LMK re briefs (1.5);
review/analyze correspondence and memo to
Committee (.3); review/analyze briefs (1.6)

Review Kaneb PT brief (.4); review CNA PT brief
(.9); review Garlock PT brief (.2); confer NDF,
LMK, KCM, JPW and JMR (2.0); teleconference
EI (.2).

Confer with PVNL et al re responses to post trial
briefs (2.1); review of record evidence re Libby
claimants' brief (1.0); work on post trial brief (0.7).

Attend meeting re briefing.

Memos re: two insurance proposed settlements and
t/c Horkovich (.5).

T/c PVNL re: BNSF arguments (.2).
Review insurance settlements (.1).

Reading briefs (.5); memo re: BNSF/Garlock
matters (.3).

Review emails from R. Horkovich and EI re
proposed insurance settlement.

Review/analyze briefs and correspondence
